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                Exhibit "A"
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                            IN THE CIRCUIT COURT FOR THE 11TH JUDICML CIRCUTT
                                 IN AND FOR MIAMl-DADB COUNTY, FLORIDA




           RICHARD LILLY, CASE NO,:

                   Plaintiff,

           vs.



           FAMILY DOLLAX STOXES OF
                            ')




                  Defendant.
                                                       /

                                           COMPLAmTFORBAMACTS

                  The Plamttf^ RICHARD LILLY by and through the midorsi^Eied attorney sues the

           Defendant, FAMILY DOLLAR STORES OP FLOBM?A, LLC, aad Sieges as follows:

                   1, This is an action for damages in excess of Fifteen Thousand Dollars ($15,000.00),

                  2. At all times material hereto, the Plaiatify, RICHARD XJLLY, was a resident of

           Broward County, Florida, and is suijum.

                  3. At all times material hereto, the Defendant, FAMILY DOLLAR STORES OF

           FLOB.1DA, LLC (liereitiafter "FAMILY DOLLAR"), was a foreign corpomtlon duly authorized

           to conduct business ro die State of Florida, and is swjwis.

                  4. Venue is proper in Miami-Dade County, Florida, as the accident that is the sxibject

           of the Complaint occurred in Miami-Dade Coumty.

                  5. At all times material hereto, the Defendant, FAMILY DOLLAR, owned and/or

           operated and/or mamtmned a discount store located at 4669 N.W. 183rf Street, (^)a Loc^.




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                          d. InadequaWnegUgent maintenance of its premises;


                          e. Failure to warn or inadequacy of warning com^ritin^ the dangerous and

                                    hazardous conditions; and

                          £ Any and all other acts of negligence,

                   12. As a direct and proximate result of the Defendant^ negHgettce and/or fmlufie to

           warn of the dangerous snd/or hazardous coaditions(s), Bamtiff, RICHARD LH.LY, suff^ed

           sadous bodily injury and resulting pain and suffermg, disabUity, disfigurement, metttel an^ixsh,

           significant and permanent scarring loss of capacity for the enjoyment of life, expenses of

           hospitaUzation, now and in the future, medical and nursmg care and treatment, now and in the

           future, enhanced insurance costs in the future^ loss of earnings, and loss of ability to earn money

           now and in the future.


                  WHEKEFOm, fhe Plamtiff; RICHARD LILLY, demands Jud^ttent from the

           Defendant, FAMILY DOIAAR STOKES OF FLORIDA, LLC, for damages, costs, interest smd

           any other relief which this CouU may deem appropriate.




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                                              MMATOFORJmY^TOAX,
                     The Ptaifltiff, XICHAM) LILLY, herein demands a trial by jury on all issues so triable

           by law.

                     Dated this 13th day of June. 2018.



                                                          MARK ALLENEONER, P.A.
                                                          Attorney for Plcaniiff
                                                          1531 XW,1t3fe Court
                                                          MJami, Florida 33125
                                                          Tel,: (786) 899-0833
                                                          Fax: (305) 397-0913
                                                          Primary Bmall: e^erpleadiftgs^gmail.com
                                                          Sec<mdary Email: 1awinfofl@me.com
                                                          Terdary Bmail: cdlez^daneridiexcom


                                                          By:__j3/LMAA&
                                                                 MARK ALLEN EONER
                                                                 FBN: 576743




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                           IN THE cmcmr COURT FOR THE i ITN JUDICIAL citRcurr
                                 IN AND FORNIAMI-DADE COUNTY, FLORIDA




           RICHARD LILLY, CASE NO.:

                   Plaintiff,

           vs.


           FAMILY DOLLAR STOMBS OF
           FLORIDA, LLC,

                   Defendant.
                                                     ./


                                   PLAINTIFFS BEOEESTM>RAI>MISSXONS

                   COMES NOW die Plaintiff, RICHARD LILLY by and through her underigtied

           coimseL and ^quests the Defendant, FAMILY DOLLAR STOKES OF M.ORIDA, LLC,

           pursuant to Rule 1,370 of the Florida Rule^ of Civil Proeedare, to admit or 4eny the foilowlng:

                   1. That FAMILY DOLLAR STORES OF FLOXIDA, LLC is the cotrea re^Stewd

           name,


                   2. That FAMTLT DOLLAR STORES OF FLORIDA, LLC was m possession and/or

           control of and/or maintained a discount store located at 4669 XW. 1&3H! Street, Opa Locka,

           Miami-Dade Counly, m the State of Florida, on or about June 4,2017

                   3. The Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC, its agents^

           employees or representatives, did, m fact, negHgentty maititam its pfemise^ by either creatittg or

           failing to correct a dangerous condition of which the Defendant knew or should have known of

           through the exercise of reasonable care, mcludmg Isut not limited to, dangerous condition




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           existing causing the Plmntlfif, BJCHAM) LILLY, to injure Nmself

                  4. That the plaintiff, RICHAXO LILLY, has sustained a permattent Injury.

                  5. That the def^idant, FAMILY DOLLAR STORBS OP FLOmDA, LLC,

           mainfsmed a policy of msurance on June 4, 2017, which contained profvisions for bodily injury

           msurance.

                  $. That fhe Plamtiff has incurred medical expenses as % result of the sub] ect aocideat

                  I BCTEBY CEMTW that a true and correct copy of the above and foregoing was

           served on Defendant, along with the Summons, Complaint, Request for Production and Premises

           Intoogatori^


           Dated tNs 13ti) day ofJime. 2018.

                                                      MARK ALLEN EGNER, P.A.
                                                      A ttomeyfor Plasntiff
                                                      153 lN.W,13fe Court
                                                      Miami, Florida 33125
                                                      Tel: (786) 899-0833
                                                      Fax: (305) 397-0913
                                                                                ng^gmaii.com
                                                      Secondary Bmall: la'wlnfofl^me.com
                                                      Tertiary Email: cdiez@daBeridiez.com



                                                      By: /s/ Mark Alien Egae^
                                                             MARK: ALLBN BCjNER
                                                             PBN: 576743




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                          IN THE CIRCUIT COUJEIT FOR THE 11TH JUDICML CIRCUrT
                               HSr AND FOR NIAWBABE COUNTS, FLORIDA




           RIC3EIATO LILLY, CASE NO.:

                  Plaintiff

           v$.



           FAMILY DOLLAR STORES OF
                              /,




                  Defendant,
                                                     ./


                       PLAmTtFFS...^OirESTFORPBODXIC.IION.TO..MFENDANT

                  COMHS NOW the Plamtif^ RICHARD LILLY, by and through undersigned cocmsel

           and propounds the attactied Reciue^t for Production to the Defendant, FAMILY DOLLAK

           STORES OP FLORIDA, LLC to be answered under oath or objected to within thirty (30) days

           jErom receipt thereof putisuant to Me 1.350 of the Flodda Rules of Civil Procedure.


                  1, Any and all statements of the Plaintiff and/orPiamtiffs agents.

                  2. All photogmphs in the possessm of the Defendant^ its agents, or attorneys of^ie
                          accident $c«ne and die persons involved.

                  3. Any and all phcto^^phsand/cff movies of the Plaintiff resulting from surveillance
                         and/or mvestlgation of the Pi^nti^.

                  4. Copy of the mcldent or accident report prepared in response to the wifhia
                        acddent

                  5, Any and all incident/acddent reports for accidents during the two years preceding
                         this accident that have occurred in tfae $amo general location and which are of^ie
                         same general type of accident as tfae accident complained of m the within suit.

                  6. Any and all maintenance and/or cteanmg or mspection records during fhe one
                         week preceding this accident for the pajficular are of the store/pr&fflises/buitdmg
                         involved in the within accident.




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                   7. Any and all safety manuals, safety brochures, training films or manuals,
                         pamphlets, posters, films or their transcript bearifig -apon safety, customer safety,
                         cleanliness and mamtenanco of the area where the accident occurred,

                   ^. Any and all letters, complaints, tetephomc messages etc., ^ncermng the
                         condition of the area where the Plaintiff was injured during the one year
                         preceding this accident and the one year subsequent to this accident

                   9, Alt documents that reflect the periodic inspection process on the day of the
                          iacldent which i$ the subject matter of this lawsmt

                   *NOTEi I<tAtt objection to the prodtictioM ofaay of the above requests are based on
           a privilege, please provide a concise privilege log.

                                                 <mm]racAix.OffSEMyx<^

                  I gQgjyg0Y CT^'|t][(i<y ^ ^ ^0 ^ correct copy of the above and foregoing wa$

           served on Defendant, along mfh the Summons, Complamt, Request for Admissions and

           Premises Interrogatories.


                       ith
           Dated this 13?  <iav of June. 5018.

                                                        MARK ALLBN EONER, PA.

                                                         1531 N.W. 13ffi Court
                                                        Miami, Florida 33125
                                                        Tel: (786) W-0833
                                                        Fax:(305)397-0913
                                                        Primary Bmaii; egnerpleadmgs^gmail.com
                                                         Seamd^ry Hmai!: la^ftfofll@me,com
                                                        Tertiary Email: odiez@damiridiez.com



                                                                /s/ Nwfe AUen B^ner
                                                                MARK ALLEN EONER
                                                                FBN: 576743




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                           JN THE CmCUlT COURT FOR THE 1 im JUDICIAL CIRCUIT
                                IN AND F(M MIAWDADE COUNTS, FLOmDA



           XICHARD LILLY, CASE NO.;

                  PJamtlff,

           vs,


           FAMILY DOLLAR STOKES OF
           FLOM>A,LLC,

                  Defenda-tit



                    PLAMTIFTS NOTICE OF FILINGPREMISES I^TEXROGATOMIES
                                TO FAMILY DOLLAR STORES OF FLORIDA. LLC

                  PURSUANT to Mules 1.280 md 1340 of the Florida Rules of Civil Procedure, Piaitttiff

           propounds to the Defendant the attached Xaterrogatories to be answered under oath and m writing

           within thirty (30) days.

                  I HEXEBY CERTIFY that a fruo and correct copy of the ibregomg has been ^rnished/

           served on Defendant, FAMILY DOLLAR STORES OF FLORIDA, LLC, with tbe Summons,

           Complaint, Request for Production and Request for Admissions.



                                                      MARK ALLBN BGNER, PA,
                                                      Attorney fw PtuMff
                                                       153 IRW. 13^ Court
                                                      Miami, FJlori da 33125
                                                      Tel: (786) ?-0833
                                                      Fax:(305)397-0913
                                                      Primary Email: egtiei-pleadmgs@gmall.com
                                                       Secondary Email: lawmfoj£]l«|me>com
                                                      Tertiary Emails ttdiez@danendie2.com



                                                              /s/ Marfe, Alten Essnei^
                                                              MAKKALLENEONEK
                                                              FBN: 576743




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                               PREMSjES INTEKROGATOmES TO BEFE?i[DANT


           1, Please state the name and address of the owtier($) of the premises at which ifae Plaintiff
                     was mjured and if said owners) are a corporate entity, please give the name(s) mid
                     addresses) of each of the ofi^cers of said coxpomfKm and the rodent agent(s). Et said
                     ownership is a pannersbip or a limited partnership, please give the name and address of
                     ^%ch partner and/orlimit^l parfctier.




           2, Is tile Defendant correctly named in Ae Complatiit? If not, please state wtfh spea^dty
                      the correct name of the owner of said property-




           3. Have you ever bees convicted of a crime, other than any Juvenile adjudlcation^ that was
                    under the law punishable by death or imprisotmient in CKCCSS of one (1) year, or that
                    involved dishonesty or false statement, tegrfess of the pumshment? If so, state as to
                    each conviction for the specific crime, the date and place of conviction. (Due to the fact
                    that the Defendant Is a ccffporatlon, this mterrogstory is directed to the
                    mdividuai/^epresentative providing the responses to these interrogatories)




           4, Descnbe m detail how die mddem described m the Compimnt hap^ned, iuoluding all
                     a^tiofis taken by you to pnevent ti^ moident




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           5. State the names, addresses and telephone numbers of all employees or agents of &e
                     Defendant present at the time offhe alleged occmrenee,




           6. State the name, age, address, occupation and place of employment of every person or
                     eyewitness known to fbe Defendant, its agents, servants and employees havmg
                     knowledge of any relevant facts pertammg to fhe above entitled acti<m and state what
                     knowledge they have.




           7. Please state the Rame(s) and addregs(es) of ^ach and every individual aiid/or comp^ay
                     who were perfbramng work at tihe Etefend^it's premises at the time ofdus inddeftt




           8. List the names, addresses and telephone numbers of all pensot^ who are believed or
                     known by you» youf agefits or attorneys to hav6 any kttowledge conc^mln^ any of the
                    issues in this law^mt and specify the subject ma^r about whlcfo file witness ha$
                    knowledge.




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                     State whether there have been prior mcidems at the location m qyestion -mthm three (3)
                     years prior to fhe p'esent incident stated m fhe CompNnt.
                     If so, state:


                     a. The exact location and date of the accident.

                     b. How the accident occurred.

                     c, WMier any record was made of the accidents, and, if so, the names and
                           addresses of any pmon($) mwhose possession the smne is now,

                     d. The name, addrm, tdephoae fiumber and present whereabouts of witnesses or
                             purported witnesses having my knowledge about the said accident.




           10, Were any reports made, photographs ^k<sn or $tetohe^ tevings, Nlowmg thi^ accident
                     by any persoR known to Defendant purportitig to describe the accident or show tfae area
                     involved m to accident a$ it e?ds^d at the time of the accideftt and, if so, state ^se
                     name(s) and address(es) of each such person, fhe exact date said items were taken or
                     made, a descdption ofisaid Itssns ^id who has custody of said items at title present time.




           11, Were any safety inspections conducted by this Defendant within the week pxicr to and
                    including the date of said incident, regarding fh.e pyemises wherein the PlamtUf was
                    injured? If so, please state the name and address of the person coaductmg the inspection
                    and whether any reports or Oftfier memomnditm were generated as a result of md
                     inspections including the nature and reason for such mspections.




           12. Did this Defendant take any precautions to prevent tie inddemt and/or injimes vMch the
                     Plaintiff sustained as alleged in the Complaint ff so, please state what precautions were
                     taken. If not, please state why ssuchprecau^ons wwe not tafcen. Also list the name and
                     address of the persons ^o decided to take the safety precautions or not.




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           13. Were you charged with any violation of law (mchidmg any regidatioas or ordinances)
                      arising out of the incident described m the Complaint? 311 so, whal; was the nature of the
                      charge; what pl&a» or answer,, of any did you enter to the charge; what court or agency
                      heard die chasrge; was any written, report prepared by anyone regardmg the chafge, Mid if
                      so what is the name and address of the person or entity that prepared the report and do
                      you have a copy of it; and was the testimony at any trial, faearing> or other proceeding on
                      the charge recorded m my mamier, atid, if ^ Nmt was Ae name and address of dw
                      person who recorded the testimony ?




           14. Describe in detail each act or omission on the part of any party to this lawsuit that you
                      contend constitutsed n^gtigence that was a contributing leagal cause of tiie incident in
                      question.




           15, State the facts upon which you rely for each ajSimiatlve defense m your answer.




           16< Do you contend any person or entity ofter titan you is, or may be, liable in whole or part
                    for the claims asserted against you in tfeis lawsuit? If so, please state the full name fflid
                    address for each such person or entity, the legal basis for your contention, the ^hcts or
                    evidence upon wMch you coatenfion Is based, and whete or not you faave aoti-Sed each
                    such person or^iuity of your comention.




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            17. Do you have any knowledge concemittg any prior and/or subsequent accident suffered
                     by the Plamtiff, and if so, please state the nature of the mjury, the date the Plaintiff was
                     mjured, the date of the aoddent, and how the Plaintiff was mjuFed.




           18, Ptease state of you have ever been a party, either plaintiff or dAidam, m a similar
                    lawsuit oEfaer than the present matter, ^nd if so state whether you were fhe ptamtiff or tihe
                    defendant, th^ nature of the action, and Ae date and court in which the suit was ^sied m
                    the past fiv^ yea^s prior to tUs inddetrt.




           19. State whether toe is or was m existence any policy of Ita^iUty in^-imnc^ including any
                     excess of-umbrella imumace which wcmld or might inure to the benefit of tfie Plmntifif
                     herein, by providing for payment of a pait of all of any judgment rendered m favor offbe
                     Plamtiffs against any Defendattt or agmnst any other person, Bmi or corp^ation who is
                      or may be liable to the Plaintiffs l>y mson of the incident described m (he Complaint,
                      and, if so state: The name and address of the insurer on each such poUcy, fee name and
                      address of each named insured on each such policy, the policy number of each such
                      policy, the limits of liability in such policy.




           20. Have you made an arrangement with anyone that would limit that party's liability to
                    msyone for any <f the damages sued upon m this case? If so, state the terms of the
                      agreement and the parfwiS to it.




           21. Please state whefher or not any form ofsutvallanee has been tato ofthse Plaintiff mid if
                     so, the type of surveillaBc^ where it wss t^fcen and ^ie name, address and tdteptume
                     munber of the person/entity who obtained the survdllance.




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           22. Have you heard or do you Jmow about any statement or remark made by or on behalf of
                    any party to this lawsuit, oth^r fhau yourself, coticemmg any iss^ue m this lawsuit? If so,
                    please state the name and address of each person who made the statement or stateme&ts,
                    the jaame and address of each person who heard it, and the date, time, place and
                     substance of the statement




                     State tfae names, ages, addresses, occupations and places ofemploymeot of every peireoa
                     from whom a wntten or taped statement was obtamed by the Defendant, it's agents,
                     servants and employees concemmg the above titled lawsuit and the date and place where
                     such statements were taken,




                     Do you coatend that any contract, contractual pn>vNon, law and/or regula^on or Ofther
                     provision exonerates or relieves this Defendant of liability for the Plaintiffs injuries
                     itidudisg, but not limited to, fhe duty to properly design, supervise, inspect, etc. the area
                     wherein the Plamtiffwas mjured? If so, please specificaUy identify any such provision
                     and the relevant language of the provision aad also list fhe name and address of (he
                     person who has custody of said provNos or contract.




           25. Do you contend that this Defendant is entitled to summary jitdgment regardmg liability
                      and/or damages sustiimed by tho Plamtif^ If so, sfcate ^tli pantadatit^ the basis for
                      said opinion and all evidence whicSi suppoi"te said contenta,




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                                                        AFFIANT



           STATE OF FLORIDA )
                            )SS:
           COUNTY OF_ ______)




                  BEFORE ME, the undersigned authority, personally appeared

                                              ^ personally known to me, or who produced idemffication of

                                       _, wfao after bang first duly sworn, deposes and states that fae» $h^

           they executed ttie foregomg and that U is tme and correct.




                  Sworn to and ^ubsscribed foefore me this _ day of_^ 2018.




                                                        Notary Pyblio


           My Commission Expires:




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                            IN THE CIRCUIT COURT FOR THE I ltH JUDICIAL CIEtCUFT
                                   IN AND FOR NIAME-DADB CODNTY, FLOMDA



           RICHARD LILLY, CASE NO.: 2018-019972-CA-Ol

                   Plaintiff,

           vs,


           FAMILY DOLLAR STOKES OP
           FLORIDA, LLC,

                   Defendant.



                                                         SUMMONS
           THE STATE OF FLORIDA

                   To All and Singular the Shexiffs offlie State;

                    YOU ARE COMMAISfDED to serve -tfus summons and a copy of the CofflpIA or Petition in
           this action on Befendant:

                   FAMILY DOLLAR STOS^S OF FLORIDA, LLC
                   Corporation Service Company, Registered Agent
                   1201 Hays St
                   Tallahassee, EL 32301


                   Each Defendant is required to serve written defenses to the Complaint or Petition an MARK
           ALLEN BONER^ Plaiatiffs attorney, wliose adefasss is: MAHK ALLEN EGNER, P.A., 1531 N.W.
           13th Comrl, Miami, Florida 33X25, withm tvvenly (20) days after service of this Summons cm Aafc
           Defbtulim^ exclusive of th^ d^ of service^ and to file the original of the defenses with Ae Cleric of fhis
           Court either before service on Plaintiffs attorney or namediately theneafter, If a Defendant falls to do so,
           a d&fault will be entered agahist Aat Defendant for the felief demanded in the CompNnt or Petition.
                                                                        6/26/2018
                   WITNESS my hand and the sea! of this Court ou.

                                                    CLERK OF IHE COURT



                                                                    Deputy Cterit




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        003538,000249


                  IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT, IN AND FOR
                                  MIAMI-DADE COUNTY, FLORDIA
                                          CASE NO.: 2018-019972-CA-01
        RICHARD LE.LY,

               Plaintiff,
        V.




        FAMILY DOLLAR STORES OF
        FLORIDA, LLC,

               Defendant.
                                                     /
                                          NOTICE OF APPEARANCE

                 PLEASE TAKE NOTICE that the law firm ofMINTZER SAROWITZ ZERIS LED VA &
        MEYERS, LLP, The Waterford at Blue Lagoon, 1000 N.W. 57th Court, Miami, Florida 33 126,by

        and through undersigned counsel, hereby files this Notice of Appearance as counsel for Defendant,

        FAMILY DOLLAR STORES OF FLORIDA, INC., and requests that copies of all future

        correspondence, pleadings, discovery and all other written items and/or communications in this case

        be directed to the undersigned.

                                          CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

        Electronic Service to all parties on the attached Service List on this _7_day of August, 2018.

                                                     MINTZER, SAROWITZ, ZERIS, LEDVA
                                                     & MEYERS, LLP
                                                     The Waterford at Blue Lagoon
                                                         1000 N.W. 57th Court, Suite 300
                                                     Miami, Florida 33126
                                                     Phone: (305) 774-9966
                                                     Fax: (305) 774-7743
                                                     Email: asaruski@defensecounsel.com


                                                     By: /s/ Ana M. Saruski
                                                              ANAM.SARUSKI
                                                              Florida Bar No. 903167
Case 1:18-cv-23204-KMW Document 1-1 Entered on FLSD Docket 08/07/2018 Page 20 of 28




                                                          CASE NO.: 2018-019972-CA-01
                                                                            Page 2 of 2

                                            SERVICELIST

     Counsel for Plaintiff Richard Lillys
     Mark Alien Egner, Esq.
     MARK ALLEN EGNER, P.A.
      1351 NW 13th Court
     Miami, FL 33125
     (786) 899-0833
     (305)397-0913
     egnem|eadmgs(5)/gmail. corn
     1 awinfofl (a),me. corn
     cdiez{%daneridiez.com
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                  IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT, IN AND FOR
                                      MIAMI-DADE COUNTY, FLORDIA
                                       CASE NO.: 2018-019972-CA-01

        RICHARD LILLY,

                Plaintiff,
        V.




        FAMILY DOLLAR STORES OF FLORIDA,
        LLC,

                Defendant.
                                                          /

                             NOTICE OF COMPLIANCE WITH RULE 2.516(Wn
                                AND DESIGNATION OF E-MAIL ADDRESS

                 Defendant, FAMILY DOLLAR STORES OF FLORIDA, INC., by and through its
        undersigned counsel, hereby files this Notice of Compliance with Rule 2.516(b)(l) and
        Designation of E-mail address and designates the following e-mail addresses for service in this
        case:
                                         asaruski(%defensecounsel.com
                                          i2oran(%defensecounsel.com
                                       ecartin-avila(%defensecounsel.com
                                     miamipleadiffnsfaidefensecounseLcom



                                         CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via
        Electronic Service to all parties on the attached Service List on this 7 day of August, 2018.


                                                      MENTZER, SAROWITZ, ZERIS, LEDVA
                                                      &MEYERS,LLP
                                                      The Waterford at Blue Lagoon
                                                      1000 N.W. 57th Court Suite 300
                                                      Miami, PL 33126
                                                      Phone: (305) 774-9966
                                                      Fax: (305) 774-7743
                                                      Email: asaruski@defensecounsel.com

                                                     By: /s/ Ana M. Saruski
                                                              ANA M. SARUSKI
                                                              Florida Bar No. 903167
Case 1:18-cv-23204-KMW Document 1-1 Entered on FLSD Docket 08/07/2018 Page 22 of 28




         IN THE CIRCUIT COURT OF THE 11 TH JUDICIAL CIRCUIT, IN AND FOR MIAMI-DADE COUNTY,
                                                                                   FLOKDIA
                                                                  Case No.: 2018-02 9972-CA-01
                                                                                   Page 2 of 2

                                            SERVICE LIST

     Counsel for Plaintiff Richard Lillv:
     Mark Alien Egner, Esq.
     MARK ALLEN EGNER, PA.
     1351 NW 13th Court
     Miami, FL 33125
     (786) 899-0833
     (305)397-0913
     egnerpleadmgs^aigmaiLcom
     lawinfofl(%me .corn
     cdiez(%daneridiez .corn
  Case 1:18-cv-23204-KMW Document 1-1 Entered on FLSD Docket 08/07/2018 Page 23 of 28
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         IN THE CIRCUIT COURT OF THE 11TH JUDICIAL CIRCUIT, IN AND FOR MIAMI-DADE
                                     COUNTY, PLORDIA


                                                                           CASE NO.: 2018-019972-CA-01
         RICHARD LILLY,

                Plaintiff,
        V.



        FAMD.Y DOLLAR STORES OF
        FLORIDA, LLC,

                Defendant.




                                NOTICE OF FILING NOTICE OF REMOVAL



                 YOU ARE HEREBY NOTIFIED that the attached copy of the Notice of Removal of

        Removal to the United States District Court for fhe Southern District of Florida, Miami Division has

        been filed in person with the Clerk of said District Court ia Miami, Florida on fhis 7 day of August,

        2016. See a true and correct copy of the Notice of Removal attached hereto as "Exhibit 1."



                 Pursuant to 28 U.8.C. Section 1446(d), the Defendant respectfully requests fhat this Court

        proceed no further in this cause unless and until this case is remanded.




                                       [SPACE INTENTIONALLY LEFT BLANK]
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                                                                       CASE NO.: 2018-019972-CA-01
                                                                                             Page 2 of 2

                                      CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that a true and correct copy offhe foregoing was &mished via

      Electronic Service to aU parties on the attached Service List on this 7 day of August, 2018.


                                                   MINTZER, 8AROWITZ, ZERIS, LEDVA
                                                   &MEYERS,LLP
                                                   The Waterford at Blue Lagoon
                                                   1000 N.W. 57th Court
                                                   Suite 300
                                                   Miami, Florida 33126
                                                   Phone: (305) 774-9966
                                                   Fax: (305) 774-7743
                                                   Email: asarusk%iidefensecj5jflitseLcom



                                                         ANA M. SARUSKIl
                                                         Florida Bar No. 903'167



                                              SERVICE LIST

      Counsel for PldinWSichard ttllv_:
      Mark Alien Egner, Esq.
      MARK ALLEN EGNER, PA.
      1351 NWlStii Court
      Miami, PL 33125
      Ph: (786) 899-0833
      Fax: (305)397-0913
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                                    UNTTED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI-DADE DIVISION

                                                       Case No: ,

                                                       Circuit Court Case No. 2018-019972-CA-01
      RICHARD LILLY,

             Plaintiff,
      V.



     FAMILY DOLLAR STORES OF
     FLORIDA, LLC,

            Defendant.
                                                   /

                      DEFENDANT. FAMILY DOLLAR STORES OF FLORIDA. LLC'S
                                         NOTICE OF REMOVAL

              The Defendant, FAMILY DOLLAR STORES OF FLOIRDA, LLC, by and through the

     undersigned counsel, hereby gives notice of filing its Notice of Removal in the above-styled action

     from the Circuit Court offhe 11 Judicial Circuit in and for Miami Dade County, Florida, Case No.:

     2018-019972-CA-01, to this Court. Removal is proper pursuant to 28 U.S.C. Sec. 1441(b) based

     on the following grounds:

     Diversity of Citizenship

     1. On or about June 19, 2018, the Plaintiff, RICHARD LILLY, filed suit infhe Circuit Court of

     Miami-Dade County, Florida against the Defendant, FAMILY DOLLAR STORES OF FLOIRDA,

     LLC. The Complaint was served upon the Defendant on or about July 19,2018. (A true and correct

     copy offhe Summons, Complaint and all other pleadings are attached hereto as composite Exhibit

     "A." The civil cover sheet is attached as Exhibit "B") This notice is filed within the time provided
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                                                                         CASE NO.: 2018-019972-CA-01
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      by 28 U.S.C. Sec. 1332 and Rule 8l(c), Fed.R.Civ.P.


       2. This Court has jurisdiction over this matter under 28 U.S.C 1332 (a)(l) because complete

       diversify exists between the Plaintiff and tiie Defendant, FAMILY DOLLAR STORES OF

       FLOIRDA, LLC, and the amount in controversy exceeds the sum of $75,000.00 exclusive of

       interest and costs.

      3. The Plaintiff is a citizen of the State of Florida and a resident ofMiami-Dade County.

      4. The Defendant, FAMILY DOLLAR STORES OF FLOIRDA, LLC is a citizen of Virginia

      since is located in Chesapeake, VA and its principal place of business is in Chesapeake, VA. See

      Rolling Greens MHP, LP v. Comcast SCH Holdings, LLC, 374 F.3d 1020,1022 (1 Ifh Cir. 2004)

      (holding that "a limited liability company is a citizen of any state of which amember offhe company

      is a citizen") as well as 2016 Florida Limited Liability Company Annual Report for FAMtt/Y

     DOLLAR STORES OF FLOIRDA, LLC attached hereto as "Exhibit C."

      5. The amount in controversy in this lawsuit exceeds $75,000.00, exclusive of interest and


     costs. This action is a personal injwy action in which Plaintiff claims substantial damages as a result

     of an alleged slip and fall accident occurring on or about June 4,2017, at a retail establishment.

     6. Defendant states upon reasonable inference and belief and without in any way acquiescing or

     conceding fault, liability, or a presumption of any damages due to the Plaintiff, that if the Plauidff

     can prevail against the Defendant in this action on liability theories, the Plaintiff's recovery cati

     legitimately be expected to exceed $75,000.00.

     7. As such, fhis case is removable pursuant to 28 U.S.C. § 1441(a), which provides that "Except

     as otherwise expressly provided by Act of Congress, any civil action brought in a State court of
Case 1:18-cv-23204-KMW Document 1-1 Entered on FLSD Docket 08/07/2018 Page 27 of 28




                                                                        CASE NO.: 2018-019972-CA-01
                                                                                          Page 3 of 4

      which the district courts of the United States have original jurisdiction, may be removed by the

      defendant or fhe defendants, to fhe district court of the United States for the district and division

      embracing the place where such action is pending."


      8. Venue is proper in this Court under 28 U.S.C. Sec. 1391 et seq.

      9. Simultaneously with this Notice of Removal fhe Defendant has filed all pleadings that have

      been filed to date with the Eleventh Judicial Circuit Court.


             WHEREFORE, the Defendant, FAMILY DOLLAR STORES OF FLOIRDA, LLC, gives

      notice that the above-referenced action has been removed to this Court.



             Respectfully submitted this 7th day of August, 2018.



                                       CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

     Electronic Service to all parties on fhe attached Service List on this ^ day of0^((m^ , 20l'& .


                                                    MINTZER, SAROWTTZ, ZERIS, LEDVA
                                                    &MEYERS,LLP
                                                    The Waterfofd at Blue Lagoon
                                                    1000 N.W. 57th Court
                                                    Suite 300
                                                    Miami, Florida 33126
                                                    Phone: (305) 774-9966
                                                    Fax: (305) 774-7743
                                                    Email: asaruski(%defensecounsel.com




                                                         ANAM.SARUSI
                                                         Florida Bar No. 903167
Case 1:18-cv-23204-KMW Document 1-1 Entered on FLSD Docket 08/07/2018 Page 28 of 28




                                                            CASBNO.: 2018-019972-CA-01
                                                                             Page 4 of 4

                                             SERVICE LIST

      Counsel for Plaintiff Richard Lilly:
      Mark Alien Egner, Esq.
      MARK ALLEN EGNER, P.A.
      1351 NWUfh Court
      Miami, FL 33125
      Ph: (786) 899-0833
      Fax: (305)397-0913
